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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

 UNITED STATES OF AMERICA

               v.                                    Case No. 21-CR-245 (AJT)

 IGOR Y. DANCHENKO,

               Defendant.



                    PRAECIPE FOR WITHDRAWAL OF APPEARANCE

TO THE CLERK:

       Please withdraw the appearance of Andrew J. DeFilippis, Assistant Special Counsel, as

counsel for the United States of America in the above-captioned matter.


                                              Respectfully submitted,

                                              JOHN H. DURHAM
                                              Special Counsel


 Date: August 21, 2022                  By:    /S/____
                                              Andrew J. DeFilippis
                                              Assistant Special Counsel
